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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHAEL F. SCHALLER,                                Case No. 2:17-cv-13024-GCS-MKM
DAWN M. SCHALLER
                 Plaintiffs,                         Honorable George Caram Steeh
v.                                                   Magistrate Judge Mona K.Mazjoub

ORLANS PC f/k/a ORLANS
ASSOCIATES, P.C.,

                               Defendant.

                       STIPULATED ORDER OF DISMISSAL


       This matter having come before the Court by stipulation of the parties, by and through

their respective counsel, and the Court being otherwise fully advised in the premises;

       WHEREAS, Plaintiffs, Michael F. Schaller and Dawn M. Schaller, commenced this

action by filing a Complaint against Defendant Orlans Associates, P.C.;

       WHEREAS, the parties stipulate to the dismissal of the Complaint with prejudice.

       NOW, THEREFORE,

       IT IS HEREBY ORDERED that the Complaint is dismissed with prejudice and the

parties shall bear their own fees and costs.

       IT IS SO ORDERED.

Date: May 2, 2018                                    s/George Caram Steeh
                                                     United States District Judge
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Agreed as to form and content:

Law Offices of Brian P. Parker, P.C.    Orlans PC

/s/ Brian P. Parker                     /s/ Elizabeth Abood-Carroll
Brian P. Parker (P48617)                Elizabeth Abood-Carroll (P46304)
Attorney for Plaintiffs                 Regina Slowey (P60456)
4301 Orchard Lake Road, Ste. 180-208    Attorneys for Defendant
West Bloomfield, MI 48323               1650 W. Big Beaver Road
(248) 342-9583                          Troy, MI 48084
Brianparker@collectionstopper.com       (248) 502-1340
                                        ecarroll@orlans.com
